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  List of Governors of Texas
  From Wikipedia, the free encyclopedia

  The governor of Texas is the head of the executive
  branch of Texas's government and the commander-in-                              Governor of Texas
  chief of the state's military forces. The governor has
  the power to either approve or veto bills passed by the
  Texas Legislature, and to convene the legislature. The
  governor may grant pardons in cases other than
  impeachment (but only when recommended by the
  Board of Pardons and Paroles) or in the case of
  treason, with permission by the legislature.

  Compared to the governors of other U.S. states, the
                                                                                    Seal of the Governor
  governorship of Texas has been cited by Slate
  magazine and liberal commentator Molly Ivins as a
  fairly weak o f f i c e . I n some respects it is the
  Lieutenant Governor of Texas, who presides over the
  state Senate, who is a more powerful political figure
  able to exercise greater personal prerogatives.
  Current Governor Rick Perry held the Lt.
  Governorship from 1999-2000 under George W.
  Bush.

 The state's first constitution in 1845 established the
 office of governor, to serve for two years, but no more
 than four years out of every six (essentially a limit of                                Incumbent
                                                                                         Rick Perry
  no more than two consecutive terms)/ 31 The 1861
                                                                                    since December 21, 2000
  secessionist constitution set the term start date at the
  first Monday in the November following the election.                Style       The Honorable
                                                                      Residence   Texas Governor's Mansion
  ^ The 1866 constitution, adopted just after the
  American Civil War, increased terms to four years,                  Term        Four years, no term limits
                                                                      length
  but no more than eight years out of every twelve, and
                                                                      Inaugural   James Pinckney Henderson
  moved the start date to the first Thursday after the
                                                                      holder      1846
  organization of the legislature, or "as soon thereafter
                                                                      Formation   Texas Constitution
  as p r a c t i c a b l e " . T h e Reconstruction constitution of   Website     Office of the Governor
  1869 removed the limit on terms/ 6 ] and to this day,                           (http://www.governor.state.tx.us/)

  Texas is one of 14 states' 7 ' with no gubernatorial term
  limit. The present constitution of 1876 shortened terms back to two years, [8] but a 1972 amendment
  increased it back to four years.^



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The Governor is sworn-in on the third Tuesday of January every four years along with the Lieutenant
Governor, so Perry and current Lieutenant Governor David Dewhurst both began new terms on January
18, 2011, which ends on January 20, 2015. Perry announced on July 8, 2013, that he will not seek re-
election to a fourth full term in the upcoming 2014 elections, so his third full term as Governor will end
on January 20, 2015.

Despite the lack of term limits, no Texas governor in the 19th or 20th century ever served more than
seven and a half consecutive years in office (Allan Shivers) or eight years total service (Bill Clements, in
two non-consecutive four-year terms). Current Governor Rick Perry, who took office in December 2000,
has now surpassed both records. Perry joins Shivers, Price Daniel, and John Connally as the fourth
Texas governor to serve three terms.

In case of a vacancy in the office of governor, the lieutenant governor becomes governor. [ 101 This was
added only in a 1999 amendment, prior to which the lieutenant governor only acted as governor, except
during the time of the 1861 constitution, which said that the lieutenant governor would be "styled
Governor of the State of Texas" in case of vacancy. [11] The Governor and first family reside in the Texas
Governor's Mansion in Austin, Texas.



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Governors of Mexican Texas
See: List of Texas Governors and Presidents

Presidents of the Republic of Texas
See: President of the Republic ofTexas#List ofpresidents and vice presidents

Governors of Texas
Number of Governors
  of Texas by party
      affiliation
Party         Governors
Democratic           39
Republican            5
Unionist              1
Independent           1
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                                             Took                                                    Notes
     #         Name         Picture                    Left office      Party
                                                                            J       Lt. Governor        [12]
                                             office
                            •HSgBi
          James Pinckney                   February    December                    Albert Clinton
                                                                     Democratic
          Henderson                        19,1846     21,1847                     Horton



                                           December    December                    John Alexander
          George T. Wood                                             Democratic
                                           21, 1847    21, 1849                    Greer

                                                                                   John Alexander
          Peter                                                                    Greer (1849-51)
                                           December    November
          Hansborough                                                Democratic                    [13]
                                           2U849 "     23,'1*53*                   James W.
          Bell
                             " Jp"                                                 Henderson (1851
                                                                                   -53)

          James W.                         November    December
          Henderson
                            kH       iC;                             Democratic    Vacant            [14]
                            m    '     "   23, 1853    21, 1853
                            ^SHPgi'

                                                                                   David Catchings
                                                                                   Dickson (1853
                                           December    December                    -55)
          Elisha M. Pease   I                                        Unionist
                                           21, 1853    21, 1857                    Hardin Richard
                                                                                   Runnels (1855
                                                                                   -57)

          Hardin R.                        December    December                    Francis R.
                                                                     Democratic
          Runnels                          21,1857     21,1859                     Lubbock


                                           December    March 18,
7         Sam Houston                                                Independent   Edward Clark      LIS]
                                           21,1859     1861


                                           March 18,   November                                      [14]
8         Edward Clark                                               Democratic    Vacant
                                           1861        7, 1861


                                                                                   John
          Francis R.                       November    November
9                                                                    Democratic    McClannahan
          Lubbock                          7,1861      5,1863
                                                                                   Crockett

                                                                                   Fletcher
          Pendleton                        November    June 17,                                      [16]
10                                                                   Democratic    Summerfield
          Murrah                           5, 1863     1865
                                                                                   Stockdale
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10      Fletcher                     June 11,     June 16,    Military         Vacant            [17]
Interim Summerfield                  1865         1865
        Stockdale


       Andrew J.                     June 17,     August 9,   Democratic-
11                                                                            Vacant             [18]
       Hamilton                      1865         1866        Military


                                                                              George
       James W.                      August 9,    August 8,
12                                                            Democratic      Washington         [19]
       Throckmorton                  1866         1867
                                                                              Jones

                         JS          June 8,      September   Re                                 [19] [20]
13     Elisha M. Pease   % -11       1867   '     30 1869          Publican   Vacant


       Edmund J.          jfeL       January 8,   January 15,                                    [21]
14                                                            Republican      Vacant
       Davis                         1870         1874


                         Q.' ^ !     January 15, December     ^       .       Richard Bennett
15     Richard Coke                                                                               P ]
                                   1 1874        21,1876      Democratic      Hubbard, Jr.


       Richard B.                    December     January 21, „                „
16                                   21 1876      1879        Democratic      Vacant
                                                                                                 [14]
       Hubbard

                                                                              Joseph Draper
                                                                              Sayers (1879-81)
                                     January 21, January 16,
17     Oran M. Roberts                                       Democratic       Leonidas
                                     1879        1883
                                                                              Jefferson Storey
                                                                              (1881-83)
                                                                              Francis Marion
                                                                              Martin (1883
                                     January 16, January 20,                  -85)
18     John Ireland                  1883        1887        Democratic
                                                                              Barnett Gibbs
                                                                              (1885-87)

       Lawrence                      January 18, January 20, „                Thomas Benton
19                                   mnr,                    Democratic       TTT,,
       Sullivan Ross                 1887        1891                         Wheeler

                                                                              George Cassety
                                                                              Pendleton (1891
       James Stephen                 January 20, January 15, „                -93)
20
       Hogg
                         A           1891        1895        Democratic
                                                                              Martin McNulty
                                                                              Crane (1893-95)
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21     Charles A.                               January 15, January 17, Democratic   George Taylor
                                    v
       Culberson          i
                          P
                                                1895        1899                     Jester



       Joseph D.                                January 17, January 20,              James Nathan
22                                                                      Democratic
       Sayers                                   1899        1903                     Browning



23
       S. W. T.
       Lanham


       Thomas
                               §                January 20, January 15,
                                                1903        1907
                                                                        Democratic   George D. Neal



                                                January 15, January 17,              Asbury.Bascom
24     Mitchell                                                         Democratic
                                                1907        1911                     Davidson
       Campbell
                          H
                                                                                     Asbury Bascom
                                                                                     Davidson (1911
25
       Oscar Branch       iff
                          r"            I.^V1
                                                January 17, January 19,
                                                                        Democratic   -13)
       Colquitt                                 1911        1915
                                                                                     William Harding
                                                                                     Mayes (1913-15)

       James E. "Pa"                            January 19, August 25,               William Pettus    [23]
26                                                                     Democratic
       Ferguson           Ihf
                          flMBI
                                                1915        1917                     Hobby, Sr.

                                                                                     Vacant (1917
                                                                                     -19)
27
       William P.
       Hobby
                               ©
                               ft               August 25, January 18,
                                                1917       1921
                                                                       Democratic    Willard Arnold
                                                                                     Johnson (1919
                                                                                     -21)
                                                                                                       [24]




                                                                                     Lynch Davidson
                                                                                     (1921-23)
                                                January 18, January 20,              Thomas
28     Pat Morris Neff                                                  Democratic
                                                1921        1925
                          0                                                          Whitfield
                                                                                     Davidson (1923
                                                                                     -25)

       Miriam A. "Ma"                           January 20, January 17,
29                                                                      Democratic
       Ferguson                                 1925        1927
                          H                                                          Barry Miller
                          B                w    January 17, January 20,
30     Dan Moody                                                        Democratic
                                                1927        1931

                                                January 20, January 17,              Edgar E. Witt
31     Ross S. Sterling                                                 Democratic
                                                1931        1933
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32     Miriam A. "Ma"                January 17, January 15, Democratic
       Ferguson                      1933        1935
                             ..-Xj



                                     January 15, January 17,         .     Walter Frank
33     James V. Allred               1935        1939        Democratic    W o q M



                                     January 17, August 4,            .    CokeR.           [25]
34     W. Lee O'Daniel   tffcA       1939        1941         Democratic   Stevenson



                                                                           Vacant (1941
       Coke R.                       August 4,    January 21,              -43)             [24]
35                                                            Democratic
       Stevenson                     1941         1947
                         vJfe                                              John Lee Smith
                                                                           (1943^47)
       Beauford H.                                                                          [26]
36                                   1 9 4 7 ^ ^ ^ ' 1949^'   Democratic   Allan Shivers
       Jester
                                                                           Vacant (1949
                                     July 11,     January 15,              -51)             [24]
37     Allan Shivers                                          Democratic
                                     1949         1957                     Ben Ramsey
                                                                           (1951-53)

                                     January 15, January 15, ,,            „   „
38     Price Daniel                  .... J                  Democratic    Ben Ramsey
                                     1957        1963


                                     JanuaryJ 15, January 21, „            r,  ^ c
39     John Connally                                    J
                                                              Democratic   Preston Smith
                                     1963         1969

                                     JanuaryJ 21, January
                                                        J 16, „            n   „
40     Preston Smith                                          Democratic   Ben Barnes
                                     1969         1973

                                     January 16, January 16,
41     Dolph Briscoe                 1973        1979        Democratic


                                     January 16, January 18, D   , r
42     Bill Clements                 1979        1983        Kepuotican
                                                                           William P.
                                                                           Hobby, Jr.
                                     January 18, January 20,
43     Mark White                                            Democratic
                                     1983        1987


                                     January 20, January 15,
44     Bill Clements                                         Republican
                         M           1987        1991

45     Ann Richards                                           Democratic
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                                    January 15, January 17,
                                    1991        1995



                                                                             Bob Bullock
                                    January 17, December                     (1995-99)
 46        George W. Bush                                     Republican                       [27]
                                    1995        21,2000
                            0                                                RickPc.., (1999
                                                                             -2000)
                                                                             Bill Ratliff
                                                                             (acting) (2000
                                    December                                 -03)
47        Rick Perry                             Incumbent Republican                          [24] [28]
                                    21,2000
                            1                                                David Dewhurst
                                                                             (2003-present)


Other high offices held
                Gubernatorial
      Name                                            Other High Offices Held
                   Term
                                U.S. Representative (1823-1827), Governor of Tennessee (1827-
Sam
               1859-1861        1829), President of Texas (1836-1838,1841-1844), U.S. Senator
Houston
                                (1846-1859)
W. Lee
               1939-1941        U.S. Senator (1941-1949)
O'Daniel
Price Daniel 1957-1963          U.S. Senator (1953-1957)
John                            U.S. Secretary of the Navy (1961)
               1963-1969
Connally                        U.S. Secretary of the Treasury (1971-1972)
Bill           1979-1983
                                U.S. Deputy Secretary of Defense (1971-1977)
Clements       1987-1991
George W.
               1995-2000        43rd President of the United States (2001-2009)
Bush


Living former governors
As of August 2014, two former governors were living. The most recent death of a former governor was
that of Bill Clements (1979-1983,1987-1991), on May 29, 2011. The most recent governor to serve
who has died is Ann Richards (1991-1995), who died on September 13, 2006.

       Name       Gubernatorial term Date of birth
M tik White       1983-1987            March 17 1940
! George W. Bush 1995-2000             July 6 1946
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Gubernatorial trivia
Background

Texas has had two female governors: Miriam A. "Ma" Ferguson and
Ann Richards. Ferguson was one of the first two women elected
governor of a U.S. state (on November 4, 1924), along with Nellie
Tayloe Ross of Wyoming. Ross was inaugurated on January 5,
1925, while Ferguson was inaugurated on January 20, so Ross is
considered the first female state governor. Ferguson was the wife of
                                                                           Along with the Seal of Office, the
former governor Jim "Pa" Ferguson, while Richards was elected "in
                                                                           governor of Texas also has a flag.
her own right," being neither the spouse nor widow of a governor.
                                                                           It is not in common use.
Texas governors have been born in fourteen states: Alabama,
Connecticut, Florida, Georgia, Iowa, Kentucky, Louisiana, Mississip i, North Carolina, Ohio, South
Carolina, Tennessee, Texas, and Virginia.

Baylor University is the most common alma mater of Texas governors, with five of them - Lawrence
Sullivan Ross, Pat Morris Neff, Price Daniel, Mark White, and Ann Richards - considered alumni
(though Ross attended but never completed a degree). To date, Coke Stevenson is the most recent
governor who never attended college, and Bill Clements is the most recent who attended college but did
not graduate.

Elections

Three governors have served non-consecutive terms: Elisha M. Pease, Miriam A. Ferguson, and Bill
Clements. As was the case in most Southern states, Texas elected no Republican governors from the end
of Reconstruction until the late twentieth century. Bill Clements was the state's first Republican
governor since Edmund J. Davis left office in 1874, 105 years earlier. Dolph Briscoe was the last
governor to be elected to a two-year term, in 1972; he was also the first to be elected to a four-year term,
in 1974, since the post-Reconstruction period when two-year terms had first been established. Governor
Rick Perry, who ascended to the governorship on December 21,2000 upon the resignation of then-
Governor George W. Bush, won full four-year terms in 2002, 2006 and 2010.

Texas governors in popular culture

W. Lee "Pappy" O'Daniel served as the inspiration for the fictional, but similarly named Mississippi
Governor Menelaus "Pappy" O'Daniel in the film O Brother, Where Art Thou?.

Ann Richards had a cameo appearance on an episode of the animated comedy series King of the Hill, in
which she has a brief romance with Bill Dauterive after he takes the fall for mooning her in the elevator
of an Austin hotel (Hank actually mooned her because he thought his friends were going to be mooning
the people in the elevator but they set him up).


See also
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  • List of Texas Governors and Presidents
  • List of Presidents of the Republic of Texas
  • List of Lieutenant Governors of Texas




Notes
  1. A a b Suellentrop, Chip (2000-01-05). "Is George          14. A abcAs lieutenant governor, filled unexpired
       W. Bush a "Weak"                                              term.
                                                                     A
       Governor?" (http://www.slate.com/id/1004307/).          15.       Evicted from office due to his refusal to swear
       Slate Magazine - Explainer. Retrieved 2010-01-                an oath to the Confederate States of America.
                                                                     A
       25.                                                     16.       Fled Austin as it fell to Union forces.
                                                                     A
  2. Attb Ivins, Molly; Lou Dubose (2000). Shrub:              17.       NGA says he was Lt. Gov who served as Gov
       The Short But Happy Political Life of George W.               after Murrah fled Texas.
                                                                     A
       Bush. New York: Vintage Books, pp. xii-xiii.            18.       Provisional military governor.
       ISBN 0-375-75714-7.                                     19. A " b James Throckmorton was removed from
  3. A 1845 Const. Art V sec 4                                       office by General Philip Sheridan, and Elisha
       A
  4.       1861 Const, art V sec 12                                  Pease installed in his place.
       A                                                             A
  5.       1866 Const, art V sec 4                             20.       Resigned due to disagreements with General
       A
  6.       1869 Const. Art IV sec 4                                  Joseph Reynolds.
       A                                                             A
  7.       Executive Branch                                    21.       Elected in a special election held under military
       (http://www.nga.org/files/pdf/BOS4-9.pdf)                     direction.
                                                                     A
       retrieved 23-October-2008                               22.       Resigned to take an elected seat in the U.S.
  8. A TX Const. Art IV sec 4                                        Senate.
       A                                                             A
  9.       Texas Politics - The Executive Branch               23.       Resigned due to the legislature bringing
       (http://texaspolitics.laits.utexas.edu/l_3_l.html).           impeachment proceedings against him.
       Texaspolitics.laits.utexas.edu. Retrieved on 2013-      24. A " b c d As lieutenant governor, filled unexpired
       07-15.                                                        term, and was subsequently elected in their own
       A
 10.       TX Const, art IV sec 16 graf d                            right.
       A
 11.       1861 Const art V sec 12                             25.   A
                                                                         Resigned after winning the Democratic primary
       A
 12.       The fractional terms of some governors are not            for a U.S. Senate seat; he won the election.
       to be absolutely literally; rather, they are meant to   26.   A
                                                                         Died in office.
       show single terms during which multiple                 27.   A
                                                                         Resigned to be President of the United States.
       governors served, due to resignations, deaths and       28.   A
                                                                         Governor Perry's third elected term expires on
       the like.                                                     January 20, 2015; he is not term limited.
       A
 13.       Resigned to take an elected seat in the U.S.
       House of Representatives.
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References
General

   • Legislative Reference Library of Texas - Governors of Texas
       (http://www.lrl.state.tx.us/legis/leaders/govbio.html)
   • Governor (of Texas) (http://www.tshaonline.org/handboolc/online/articles/mbg03) from the
       Handbook of Texas Online
   •   The Handbook of Texas Online: Texas History Quiz -- Presidents and Governors of Texas
       (http://www.tshaonline.org/quiz/0602q.html)
   • Explanation of the strengths of governors (http://www.stateline.org/live/details/story?
       contentId=l 87648)

Constitutions

   •   1876 Constitution, as amended (Current) (http://tlo2.tlc.state.tx.us/txconst/toc.html)
   •   1876 Constitution (http://tarlton.law.utexas.edu/constitutions/texasl876)
   •   1869 Constitution (http://tarlton.law.utexas.edu/constitutions/texasl 869)
   •   1866 Constitution (http://tarlton.law.utexas.edu/constitutions/texas 1866)
   •   1861 Constitution (http://tarlton.law.utexas.edu/constitutions/texasl861)
   •   1845 Constitution (http://tarlton.law.utexas.edu/constitutions/texas 1845)

Specific

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title=List_of_Governors_of_Texas&oldid=620800037"
Categories: Governors of Texas | Lists of state governors of the United States
| Lists of Texas politicians


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